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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 STATE OF NEW YORK ex rel. TZAC, INC.

                           Plaintiff-Relator,
                                                           Civil Action No. 1:20-cv-2955
        v.

 NEW ISRAEL FUND,

                           Defendant.


            DEFENDANT NEW ISRAEL FUND’S NOTICE OF REMOVAL
        PURSUANT TO 28 U.S.C. § 1331 (FEDERAL QUESTION JURISDICTION)

       Defendant New Israel Fund files this Notice of Removal of this action from the Supreme

Court of the State of New York, County of New York, to the United States District Court for the

Southern District of New York. This Notice of Removal is filed pursuant to 28 U.S.C. §§ 1441 and

1446. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1340 because this action arises

under the United States Internal Revenue Code, in particular 26 U.S.C. § 501(c)(3). In support

hereof, New Israel Fund shows this Court as follows:

       1.      Plaintiff TZAC, Inc. filed this qui tam action under seal on August 19, 2019, in the

Supreme Court of the State of New York, County of New York. It is captioned State of New York

ex rel. TZAC, Inc. v. New Israel Fund, Index No.: 101260-19 (the “State Court Action”).

       2.      On November 22, 2019, the State of New York — on whose behalf TZAC

sued — declined to intervene in the State Court Action.

       3.      Defendant New Israel Fund was served with the summons and Complaint on March

11, 2020, after the State Court Action was unsealed. Pursuant to 28 U.S.C. § 1446(a), copies of all

process, pleadings, and orders served upon New Israel Fund in the State Court Action are attached

hereto as Exhibits A through E.
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       4.      This Notice is being filed with this Court within thirty days after service of the

Complaint on New Israel Fund.

       5.      This Court has subject matter jurisdiction due to its original jurisdiction over cases

“arising under” federal law generally, see 28 U.S.C. § 1331, and federal tax law in particular, see

id. § 1340.

       6.      As the Supreme Court has explained, a cause of action arises under federal law if a

“state-law claim necessarily raise[s] a stated federal issue, actually disputed and substantial.”

Grable & Sons Metal Prods., Inc. v. Darue Eng’g & Mfg., 545 U.S. 308, 314 (2005); see also New

York ex rel. Jacobson v. Wells Fargo Nat’l Bank, N.A., 824 F.3d 308 (2d Cir. 2016) (affirming denial

of remand under circumstances similar to the instant case).

       7.      TZAC’s action satisfies that standard. TZAC alleges that New Israel Fund failed to

maintain its tax-exempt status under § 501(c)(3) of the United States Internal Revenue Code. As a

result, says TZAC, New Israel Fund owes unspecified taxes to the State and City of New York and

has thereby violated the New York False Claims Act. See N.Y. Fin. Law § 187 et seq. This claim

necessarily implicates New Israel Fund’s compliance with federal tax law. By TZAC’s own

admission, New Israel Fund’s state and local tax obligations turn on its federal tax-exempt status.

See Compl. ¶¶ 4 (“NIF is registered under Section 501(c)(3) of the Internal Revenue Code and

therefore the income it receives from its donations and investments is tax exempt under Federal,

State, and local law.”); 21 (“As a result of NIF’s federal tax exemption, it receives exemption from

taxation in the State and City of New York.”). Indeed, the alleged “fraudulent statements” TZAC

identifies were affirmances of federal tax-law compliance contained within federal tax forms. See

id. ¶¶ 8–19 (specifically identifying IRS Form 990).          Accordingly, any court charged with

adjudicating TZAC’s asserted state-law claim will have to resolve the question of New Israel Fund’s

compliance with the obligations of its federal tax-exempt status. This Court thus has jurisdiction

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over this action pursuant to 28 U.S.C. §§ 1331 and 1340, without regard to the amount in controversy

or the citizenship of the parties. The State Court Action is thus removable pursuant to 26 U.S.C. §§

1331, 1340, and 1441.

       8.      Venue of the removal action is proper in the United States District Court for the

Southern District of New York pursuant to 28 U.S.C. § 1441(a) because the county from which the

State Court Action is being removed—New York County—lies within this federal district.

       9.      Promptly after the filing of this Notice of Removal, New Israel Fund shall give

written notice of the removal to plaintiff TZAC, Inc. and the Clerk of the Supreme Court of the State

of New York, County of New York, as required by 28 U.S.C. § 1446(d).

       10.     New Israel Fund is the only defendant, and it consents to removal.

       WHEREFORE, New Israel Fund respectfully provides notice of removal of the above-

described action to this Court.

       DATED: April 10, 2020

                                                       Respectfully submitted,

                                                       /s/ J. Emmett Murphy

         Jeffrey S. Bucholtz, Pro Hac Vice to be       J. Emmett Murphy
         sought                                        KING & SPALDING LLP
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                             Counsel for Defendant New Israel Fund




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice of

Removal was served via UPS next business day delivery on April 10, 2020, on counsel for plaintiff

TZAC, Inc.



                                                          /s/ J. Emmett Murphy
                                                          J. Emmett Murphy




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